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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS

CATHOLIC CHARITIES OF SOUTHWEST                    )
KANSAS, INC.,                                      )
                                                   )
                             Plaintiff,            )
                                                   )      CIVIL ACTION
v.                                                 )
                                                   )      No. 20-1334-KHV
PHL VARIABLE INSURANCE COMPANY,                    )
                                                   )
                             Defendant.            )
                                                   )

                              JUDGMENT IN A CIVIL CASE

( )    JURY VERDICT. This action came before the Court for a trial by jury. The issues have
       been tried and the jury has rendered its verdict.

(X)    DECISION BY THE COURT. This action came to decision by the Court. The issues
       have been considered and a decision has been rendered.

        IT IS ORDERED AND ADJUDGED that pursuant to the Memorandum And Order
(Doc. #33) filed September 13, 2021, judgment is entered in favor of the defendant PHL Variable
Insurance Company against the plaintiff Catholic Charities of Southwest Kansas, Inc. and this
action is DISMISSED.


Dated: 9/13/2021                           TIMOTHY M. O’BRIEN, CLERK

                                           s/ Andrea Schreyer
                                           Deputy Clerk




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